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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

             REGINALD SMITH,                          :     CIVIL ACTION NOS.
             BOP Reg # 60061-019,                     :     1:12-CV-868-WSD-AJB
                 Movant,                              :     1:12-CV-869-WSD-AJB
                                                      :
                   v.                                 :     CRIMINAL ACTION NOS.
                                                      :     1:08-CR-190-WSD-AJB-8
             UNITED STATES OF AMERICA,                :     1:09-CR-341-WSD-AJB-1
                 Respondent.                          :
                                                      :     MOTION TO VACATE
                                                      :     28 U.S.C. § 2255

                               UNITED STATES MAGISTRATE JUDGE’S
                              FINAL REPORT AND RECOMMENDATION

                   Movant, a federal prisoner, has filed a 28 U.S.C. § 2255 motion to vacate his

             combined sentence of ninety-eight months’ imprisonment in the above two criminal

             cases, which sentence he received in this Court on February 22, 2010, after pleading

             guilty to one count of conspiracy to commit bank fraud and one count of aggravated

             identity theft. Now before the Court are the motions, [1:08-cr-190, Doc. 308; 1:09-cr-

             341, Doc. 11], and the Government’s responses, [1:08-cr-190, Doc. 313; 1:09-cr-341,

             Doc. 13].1 For the reasons set forth below, it is RECOMMENDED that Movant’s


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                         Because the aforementioned pleadings are identical in these two cases, the
             remainder of this Report and Recommendation cites only to the pleadings in 1:08-
             cr-190. The citation references are to the page and document numbers in the Court’s
             CM/ECF system.



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             § 2255 motions be DENIED.

             I.    Procedural History

                   On May 13, 2008, a grand jury sitting in this District indicted Movant in Case

             No. 1:08-cr-190 on charges of conspiracy to commit bank fraud (count 1), bank fraud

             (counts 2-25), aggravated identity theft (counts 26-49), and theft of the mail (counts 50-

             52). [Doc. 313 at 1-2; see Doc. 11]. On August 14, 2009, the United States Attorney

             filed a criminal information in Case No. 1:09-cr-341, charging Movant with one count

             of aggravated identity theft. [Doc. 313 at 2; see No. 1:09-cr-341, Doc. 1]. The

             proceedings for the two cases were consolidated for Movant’s guilty plea and

             sentencing. [See Doc. 313 at 2 n.1]. Therefore, all citations hereinafter to the criminal

             case documents are to those docketed in Case No. 1:08-cr-190.

                   On August 14, 2009, Movant pled guilty to count one in each case, and on

             February 22, 2010, he received a combined sentence of ninety-eight months’

             imprisonment. [Id. at 2; see Docs. 189, 228]. Movant filed a notice of appeal, and on

             March 16, 2011, the Eleventh Circuit affirmed his convictions and sentences.

             [Docs. 236, 299]. The Government has provided additional factual detail as follows:

                          Defendant stipulated that he was involved in a check theft, identity
                   theft, and check cashing ring that operated from at least January 2006
                   through May 2007 that involved between 50 and 250 victims and caused

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                  losses totaling at least $450,000. (Doc. 260-2-6).

                        During the conspiracy, defendant was employed by the United
                  States Postal Service at a bulk mail facility in Atlanta, Georgia.
                  (PSR ¶ 22). Defendant stole boxes of checks from the mail. Defendant
                  then provided the stolen boxes of checks to codefendant Tequilia
                  Hamilton who in turn provided them to Viola Hill. (Id.). Hill paid
                  Hamilton $250.00 per box and Hamilton, in turn, paid defendant. (Id.).

                         Once Hill obtained the stolen checks, she provided the names and
                  addresses of the account holders of the checks to codefendant Carlos
                  Jennings. (Id.). Jennings obtained the check victims’ social security
                  numbers and dates of birth, and provided that information to Hill. (Id.).
                  Hill also obtained fraudulent identification cards and driver’s licenses in
                  the check victims’ names and addresses. (Id.). Check cashers then
                  traveled with Hill and her husband to casinos in Mississippi and Louisiana
                  to cash the stolen checks. (Id.). Hill distributed the stolen checks, stolen
                  identification information, and fake [ID]s to the check cashers. (Id.). Hill
                  collected half of the proceeds that the check cashers made from cashing
                  the stolen checks. (Id.).

                         For the bank fraud conspiracy offense the PSR determined that
                  USSG § 2B1.1 was the applicable Sentencing Guidelines section to use
                  to determine the advisory guidelines range. (PSR ¶ 90). Defendant
                  submitted objections to the loss amount, number of victims, the
                  sophisticated means enhancement, and the enhancement for the
                  production and use of device making equipment and counterfeit
                  identification documents. (PSR ¶¶ 91, 92, 93, 94). The Government
                  conceded that the two point enhancement for the production and use of
                  device making equipment and counterfeit [ID]s should not apply given
                  that defendant pleaded guilty to aggravated identity theft and would
                  receive a two year consecutive sentence for that offense. (Doc. 195).
                  Therefore, the district court sustained defendant’s objection on that issue.
                  (Doc. 260-17). At the sentencing hearing defendant stipulated that it was
                  reasonably foreseeable to him that the intended loss resulting from the

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                  conspiracy was $458,317 and that there were more than 50 victims whose
                  checkbooks were stolen from the mail. (Doc. 260-5).

                         The only contested guidelines issue at sentencing was the two point
                  enhancement because the offense involved sophisticated means under
                  USSG 2B1.1(b)(9)(C). (PSR ¶ 93). In ruling on the application of the
                  sophisticated means enhancement, the district court reiterated its finding
                  made earlier with respect [to] codefendants that the decision to cash nearly
                  all of the checks at out-of-state casinos demonstrated a practical
                  sophistication by choosing a cash rich environment in which the
                  defendants perceived detection would be more difficult. (Doc. 260-15).
                  The court also reiterated its previous findings that the
                  compartmentalization of the roles of the conspirators was a form of
                  practical sophistication in an effort to avoid detection. (Id.). Finally, the
                  court noted that the recruitment of a coconspirator who had access to
                  personal identification information of the check victims which would aid
                  in the successful negotiation of the checks was another indication that the
                  scheme involved sophisticated means. (Id.). Accordingly, the court
                  overruled defendant’s objection to the sophisticated means enhancement.
                  (Doc. 260-17).

                        For the bank fraud conspiracy the court determined that defendant’s
                  offense level was 26, defendant’s Criminal History category was I, and
                  defendant’s custody guideline range was 63-78 months. (Doc. 260-19).
                  The court gave the parties an opportunity to allocute for a reasonable
                  sentence under 18 U.S.C. § 3553. (Doc. 260-19-32). Defendant was
                  allowed to address the court before the court imposed sentence.
                  (Doc. 260-32-33).

                         The only issue raised by defendant on direct appeal was the
                  application of the sophisticated means enhancement. United States v.
                  Clark, et al., 417 Fed. Appx. 906, 908 (11th Cir. 2011). In addressing
                  defendant’s contentions as to why the enhancement should not have been
                  applied to him, the Eleventh Circuit specifically noted that “Smith argues
                  that there was nothing especially complex or intricate about his conduct.”

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                   (Id.). The court found that the district court did not clearly err in finding
                   that the scheme involved sophisticated means. (Id.). Accordingly,
                   defendant’s sentence was affirmed. 417 Fed. Appx. at 910.

             [Doc. 313 at 3-6 (formatting altered)].2

                   On March 13, 2012, Movant filed his § 2255 motion to vacate sentence, raising

             the following grounds for relief:

             (1)   the two point enhancement for sophisticated means does not apply to him;

             (2)   he was unlawfully charged with aggravated identity theft because he did not
                   know any of his victims personally and did not possess their identifications;

             (3)   the restitution amount is miscalculated and unlawful;

             (4)   he was improperly given one criminal history point for a case that was more than
                   fifteen years old.

             [Doc. 308 at 4-5]. Movant’s supporting arguments, set forth in his Memorandum of

             Law, [Doc. 308-1 at 7-23], are discussed below.

             II.   Discussion

                   A.     Ground One:         Ineffective Assistance of Counsel and the
                                              Sophisticated Means Sentencing Enhancement

                   In his motion to vacate, Movant claims in ground one that the sophisticated

             means sentencing enhancement does not apply to him. (Doc. 308 at 4). However,

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                           Movant has attached his Presentence Investigation Report (“PSR”) as an
             exhibit to his motion to vacate. [See Doc. 308-2 at 34-43].

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             under the heading of Ground One in his supporting brief, Movant presents several

             related claims of ineffective assistance of appellate counsel, after acknowledging that

             “the Eleventh Circuit properly rejected [appellate counsel’s] argument” that this Court

             erred in finding that the bank fraud conspirators used sophisticated means. [Doc. 308-1

             at 10]. Movant asserts that appellate counsel instead “should have argued against . . .

             the imposition of a sentencing enhancement for Sophisticated Means, [Movant’s] role

             pursuant to U.S.S.G. 2B1.1(b)(1)([H]) and his offense level and subsequent increase

             by 14 levels.” [Id.]. In addition, appellate counsel “should have argued [that Movant’s]

             criminal history classification should have been reduced,” [id.], and that under United

             States v. Booker, 543 U.S. 220 (2005), his “Sixth Amendment right to a jury trial was

             violated because the district court enhanced his sentence on facts not proved beyond

             a reasonable doubt,” [Doc. 308-1 at 11].3

                   The Supreme Court set forth the standard for evaluating claims of ineffective

             assistance of counsel in Strickland v. Washington, 466 U.S. 668 (1984).            “An

             ineffectiveness claim . . . is an attack on the fundamental fairness of the proceeding


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                           Movant argues under Ground Two of his supporting brief that he wrongly
             received the sentencing enhancement for sophisticated means, [Doc. 308-1 at 13-16],
             but as noted in the text, Movant raised this claim on direct appeal and thus may not
             raise it again on collateral review.

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             whose result is challenged.” Id. at 697. The analysis involves two components, but a

             court need not address both if the petitioner “makes an insufficient showing on one.”

             Id.

                   First, a federal habeas court determines “whether, in light of all the

             circumstances, the identified acts or omissions [of counsel] were outside the wide range

             of professionally competent assistance.” Id. at 690. The court “must be highly

             deferential” in scrutinizing counsel’s performance and “must indulge a strong

             presumption that counsel’s conduct falls within the wide range of reasonable

             professional assistance.” Id. at 689. In other words, the petitioner “must overcome the

             presumption that, under the circumstances, the challenged action might be considered

             sound trial strategy.” Id. (Internal quotations omitted). “Given the strong presumption

             in favor of competence, the petitioner’s burden of persuasion—though the presumption

             is not insurmountable—is a heavy one.” Chandler v. United States, 218 F.3d 1305,

             1314 (11th Cir. 2000) (en banc).

                   Second, a federal habeas court determines whether counsel’s challenged acts or

             omissions prejudiced the petitioner, i.e., whether “there is a reasonable

             probability”—one “sufficient to undermine confidence in the outcome”—that “but for

             counsel’s unprofessional errors, the result of the proceeding would have been

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             different.” Strickland, 466 U.S. at 694.

                   The foregoing analysis also applies to claims of ineffective assistance of

             appellate counsel. “A first appeal as of right . . . is not adjudicated in accord with due

             process of law if the appellant does not have the effective assistance of an attorney.”

             Evitts v. Lucey, 469 U.S. 387, 396 (1985). “A defendant can establish ineffective

             assistance of appellate counsel by showing: (1) appellate counsel’s performance was

             deficient, and (2) but for counsel’s deficient performance he would have prevailed on

             appeal.” Shere v. Sec’y, Fla. Dep’t of Corr., 537 F.3d 1304, 1310 (11th Cir. 2008)

             (citing Smith v. Robbins, 528 U.S. 259, 285-86 (2000)). However, appellate counsel

             “need not advance every argument, regardless of merit, urged by the appellant.” Lucey,

             469 U.S. at 394; see Robbins, 528 U.S. at 288 (noting that “it is difficult to demonstrate

             that [appellate] counsel was incompetent” for failing “to raise a particular claim,” and

             “[g]enerally, only when ignored issues are clearly stronger than those presented, will

             the presumption of effective assistance of counsel be overcome” (internal quotations

             omitted)); Heath v. Jones, 941 F.2d 1126, 1132 (11th Cir. 1991) (stating that neglected

             claim satisfies test for ineffective assistance only if claim would have had “a reasonable

             probability of success on appeal”).




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                          1.     Sophisticated Means Enhancement

                   In ruling on a § 2255 motion, a “district court is not required to reconsider claims

             of error that were raised and disposed of on direct appeal.” United States v. Nyhuis,

             211 F.3d 1340, 1343 (11th Cir. 2000); see Thomas v. United States, 572 F.3d 1300,

             1304 (11th Cir. 2009) (same).         Accordingly, because Movant challenged the

             sophisticated means enhancement on direct appeal, he has a viable claim in this regard,

             at best, only under the rubric of ineffective assistance of counsel. But that claim fails.

             In his § 2255 motion, Movant argues that he himself used no sophisticated means;

             rather, “[h]e only handed over to [a] Co-Defendant, checks that he took from his job.”

             (Doc. 308 at 4). However, the Eleventh Circuit noted on direct appeal that “ ‘[t]here

             is no requirement that each of a defendant’s individual actions be sophisticated in order

             to impose the enhancement. Rather, it is sufficient if the totality of the scheme was

             sophisticated.’ United States v. Ghertler, 605 F.3d 1256, 1267 (11th Cir. 2010).” Clark,

             417 Fed. Appx. at 908. The court noted in particular Movant’s argument “that there

             was nothing especially complex or intricate about his conduct,” and then rejected that

             argument. Id.

                   The district court did not clearly err in finding the defendants’
                   check-cashing scheme involved sophisticated means of execution and
                   concealment. The scheme took years of planning, coordination, and

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                   efforts of the many individuals involved in the criminal operation. The
                   conspirators obtained information about the account holders, created and
                   used fraudulent identification documents, cashed the checks at casinos,
                   and traveled across state lines. The totality of the scheme was complex in
                   execution, satisfying U.S.S.G. § 2B1.1(b)(9)(C). See Ghertler, 605 F.3d
                   at 1267. Moreover, these facts indicate a sophisticated means of
                   concealing the offense from authorities.

             Id. Movant has neither shown, nor attempted to show, a reasonable probability that a

             different argument regarding the sophisticated means enhancement would have

             prevailed on direct appeal. See Strickland, 466 U.S. at 694. Accordingly, his claim of

             ineffective assistance of counsel regarding the sophisticated means enhancement fails.

                          2.    Victims’ Loss Enhancement

                   With respect to Movant’s claim that he should have received a lesser sentencing

             enhancement for the loss resulting from the fraud conspiracy, the Government notes the

             following:

                   The PSR determined that the loss amount was $622,900.24. (PSR¶ 91).
                   Defendant objected. (Id.). At the sentencing hearing, it was announced
                   that the parties had stipulated that the loss amount was approximately
                   $450,000. (Doc. 260-4). The court specifically asked defendant if he
                   agreed to the stipulation, and defendant stated that he did. (Doc. 260-4-5).
                   Based upon the stipulation the court found that defendant’s offense level
                   would be enhanced by 14 levels [under U.S.S.G. § 2B1.1(b)(1)(H)].
                   (Doc. 260-6). Defendant did not object to the finding. (Doc. 260-6-7).

             [Doc. 313 at 11 (footnote omitted) (formatting altered)]. The Government argues, and



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             this Court agrees, that Movant’s stipulation to the loss amount at his sentencing hearing

             precluded a successful argument on appeal for a lower loss amount, and Movant has not

             offered a coherent argument to the contrary. Accordingly, this ineffective assistance

             of counsel claim also fails. See Strickland, 466 U.S. at 694.

                          3.     Criminal History Point

                   Regarding the criminal history point that Movant received for a conviction “that

             was more than 15 year[s] old” and for which his sentence was 12 months’ probation

             and a small fine, [see Doc. 308 at 5, Doc. 308-2 at 40], the Government argues

             convincingly that, notwithstanding the claim’s questionable merit, raising it on appeal

             would not have altered the outcome there because Movant’s criminal history category

             of I was the lowest possible category, so that removing the single criminal history point

             at issue would not have affected Movant’s criminal history category or, in turn, his

             advisory guidelines sentencing range or the sentence he received, [Doc. 313 at 12-13].

             Moreover, as the Government also notes, because Movant was convicted on a

             misdemeanor charge of simple battery on April 16, 1996, [see Doc. 308-2 at 40], within

             ten years of the start of the bank fraud conspiracy to which he pled guilty here, which

             conspiracy began “in or about September 2005,” [see Doc. 11 at 1], the single criminal

             history point that Movant received for the battery conviction at issue was appropriate

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             under U.S.S.G. §§ 4A1.1(c), 4A1.2(e)(2). Accordingly, Movant was not prejudiced by

             appellate counsel’s failure to raise this issue on appeal, and Movant’s claim of

             ineffective assistance of counsel in this regard fails. See Strickland, 466 U.S. at 694.

                          4.     Booker Claim

                   Finally, with respect to Movant’s Booker claim that this Court improperly

             enhanced his sentence based on evidence not proven to a jury beyond a reasonable

             doubt, the Eleventh Circuit has explained Booker’s effect on a federal district court’s

             factfinding at sentencing as follows:

                   Booker holds that the Sixth Amendment right to trial by jury is violated
                   where under a mandatory guidelines system a sentence is increased
                   because of an enhancement based on facts found by the judge that were
                   neither admitted by the defendant nor found by the jury. When the district
                   court applies the Guidelines in an advisory manner, nothing in Booker
                   prohibits district courts from making, under a preponderance-of-
                   the-evidence standard, additional factual findings that go beyond a
                   defendant’s admissions.

             United States v. Smith, 480 F.3d 1277, 1281 (11th Cir. 2007) (citations and internal

             quotations omitted). In accord with Booker, this Court applied the guidelines in an

             advisory manner at Movant’s sentencing. [See Doc. 260 (Sentencing Tr.) at 42 (“This

             is a guideline sentence. I believe that considering all the factors of [18 U.S.C. §] 3553,

             it is the fair and reasonable sentence in this case, and it is proportional considering the



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             conduct of the other co-defendants who have been sentenced in this case.”)]; United

             States     v.   Scott,   426   F.3d   1324,    1328   (11th   Cir.   2005)   (“Following

             Booker, . . . Section 3553(a) remains in effect, and sets forth numerous factors that

             guide sentencing. Those factors in turn will guide appellate courts, as they have in the

             past, in determining whether a sentence is unreasonable.” (internal quotations omitted)).

             Because the District Court followed the post-Booker protocol for determining the

             reasonableness of Movant’s sentence in light of the § 3553(a) factors, a claim of Booker

             error had no reasonable probability of success on appeal, and the failure of appellate

             counsel to raise it did not constitute ineffective assistance. See Strickland, 466 U.S. at

             694.

                      B.     Ground Two: Aggravated Identity Theft

                      In the second ground for relief set forth in his motion to vacate, Movant claims

             that to charge a defendant with aggravated identity theft in violation of 18 U.S.C.

             § 1028A, the Government “must prove that [the] defendant personally [k]new [the]

             victims which [Movant] did not nor did he ever have Identification for the victims.”

             [Doc. 308 at 4]. In his supporting brief, Movant argues that under Flores-Figueroa v.

             United States, 556 U.S. 646 (2009), he is actually innocent of aggravated identity theft

             because there was no “evidence presented or discovered” that he “actually knew any

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             of the victims (the [intended] recipients) of the boxes of checks [he] stole while he was

             a postal employee, nor did he use any other identification of another person as an alias

             to commit this crime.” [Doc. 308-1 at 12-13].

                   However, a conviction for aggravated identity theft under 18 U.S.C. § 1028A,

             as the Supreme Court construed that statute in Flores-Figueroa, requires proof only that

             the defendant knew that the victim was a real person, not that the defendant knew the

             victim personally. See United States v. Daniels, 685 F.3d 1237, 1247 (11th Cir. 2012)

             (“The Flores-Figueroa Court held that § 1028A(a)(1) requires proof that the defendant

             not only had knowledge that he was unlawfully using a means of identification, but also

             that the means of identification was that ‘of another person.’ ”); United States v.

             Zuniga-Arteaga, 681 F.3d 1220, 1225 (11th Cir. 2012) (“Viewed together, the text,

             structure and purpose of the statute make plain the meaning of § 1028A(a)(1)’s text: the

             provision criminalizes the use of a real person’s identity, regardless of whether that

             person is currently living.”).

                   Movant did not raise his aggravated identity theft claim on direct appeal, so he

             has procedurally defaulted it for purposes of collateral review:

                   Generally speaking, an available challenge to a criminal conviction or
                   sentence must be advanced on direct appeal or else it will be considered
                   procedurally barred in a § 2255 proceeding. A ground of error is usually

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                   “available” on direct appeal when its merits can be reviewed without
                   further factual development. When a defendant fails to pursue an
                   available claim on direct appeal, it will not be considered in a motion for
                   § 2255 relief unless he can establish cause for the default and actual
                   prejudice resulting from the alleged error.

             Mills v. United States, 36 F.3d 1052, 1055 (11th Cir. 1994) (also noting exception for

             fundamental miscarriage of justice if, in exceptional case, § 2255 movant can establish

             his actual innocence); see McDaniel v. United States, No. 09-16112, 2012 WL

             4497637, at *2 (11th Cir. Oct. 2, 2012) (same); Lynn v. United States, 365 F.3d 1225,

             1234 (11th Cir. 2004) (same).

                   Movant does not allege cause to excuse his procedural default of this claim, but

             instead seeks to establish his actual innocence. (Doc. 308-1 at 12-13). However, in

             order to do so after entering a guilty plea, a § 2255 movant “must demonstrate that, in

             light of all the evidence, it is more likely than not that no reasonable juror would have

             convicted him.” Bousley v. United States, 523 U.S. 614, 623 (1998) (internal

             quotations omitted) (noting that “ ‘actual innocence’ means factual innocence, not mere

             legal insufficiency”). Here, Movant has failed to do so. Movant stole boxes of checks

             out of the United States mail that were en route to the victims’ home addresses, and he

             has presented no evidence to support his factual innocence, much less any evidence that

             more likely than not would convince a reasonable juror that Movant believed that those

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             addresses were fictitious and that the stolen checks were not intended for real persons.

             If Movant’s co-conspirators were planning to use fictitious names and addresses on the

             false identifications they used to cash the checks, they hardly would have needed

             Movant to steal boxes of checks from the United States mail rather than simply

             ordering or printing the checks themselves. It is apparent to this Court, as it should

             have been to Movant and would be to a reasonable juror, that the conspirators needed

             the checks of real persons to carry out their bank fraud conspiracy. Accordingly,

             Movant’s ground two claim fails.

                   C.     Ground Three: Restitution

                   In ground three of his motion to vacate, Movant argues that because he received

             only $250.00 for each transaction in which he provided personal checks stolen from the

             mail to his co-conspirators, his restitution amount should be adjusted accordingly.

             (Doc. 308 at 4). In his supporting brief, Movant argues that because his profit from the

             conspiracy did not exceed five thousand dollars, his restitution obligation should be

             reduced. (Doc. 308-1 at 16-17). However, “a petitioner cannot challenge a restitution

             sentence with a motion to vacate his sentence--even when joined with a claim seeking

             release from custody--because the language of section 2255 limits its application to ‘a

             prisoner in custody . . . claiming the right to be released.’ ” Arnaiz v. Warden, 594 F.3d

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             1326, 1329 (11th Cir. 2010) (citing Mamone v. United States, 559 F.3d 1209, 1211

             (11th Cir. 2009)). Accordingly, Movant’s ground three claim provides no basis for

             § 2255 relief.

                    D.     Ground Four: Criminal History Point

                    In ground four of his motion to vacate, Movant contends that he was improperly

             given one criminal history point based on a conviction that was too old to be counted.

             [Doc. 308 at 5]. However, as Movant did not raise this claim on direct appeal, he has

             procedurally defaulted it. See Mills, 36 F.3d at 1055. Moreover, as discussed above,

             because Movant suffered no prejudice from appellate counsel’s failure to raise this

             claim on direct appeal, Movant has failed to establish ineffective assistance of appellate

             counsel as cause to excuse his procedural default. Accordingly, Movant’s final claim

             also fails.

             III.   Certificate of Appealability

                    A § 2255 movant must obtain a certificate of appealability (COA) before

             appealing the denial of a motion to vacate.          28 U.S.C. § 2255(d); 28 U.S.C.

             § 2253(c)(1)(B). A COA may issue only when the movant makes a “substantial

             showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).

                    When the district court denies a habeas petition on procedural grounds

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                     without reaching the prisoner’s underlying constitutional claim, . . . a
                     certificate of appealability should issue only when the prisoner shows both
                     that jurists of reason would find it debatable whether the petition states a
                     valid claim of the denial of a constitutional right and that jurists of reason
                     would find it debatable whether the district court was correct in its
                     procedural ruling.

             Jimenez v. Quarterman, 555 U.S. 113, 118 n.3 (2009) (internal quotations omitted).

             Because there is no reasonable dispute that Movant’s claims are either barred from

             merits review or lacking in arguable merit, or both, a certificate of appealability should

             not issue in this matter.

             IV.     Conclusion

                     For the foregoing reasons, IT IS RECOMMENDED that the Court DENY

             Movant’s 28 U.S.C. § 2255 motions, [1:08-cr-190, Doc. 308; 1:09-cr-341, Doc. 11],

             and DENY him a certificate of appealability.

                     The Clerk is DIRECTED to terminate the referral to the Magistrate Judge.

                     IT IS SO RECOMMENDED and DIRECTED, this 20th day of November,

             2012.



                                                ALAN J. BAVERMAN
                                                UNITED STATES MAGISTRATE JUDGE




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